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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 SYMBOLOGY INNOVATIONS, LLC,                       §
                                                   §
                Plaintiff,                         §
                                                   §
 v.                                                §   CIVIL ACTION NO. 2:23-CV-00249-JRG
                                                   §
 KEURIG DR. PEPPER INC.,                           §
                                                   §
                Defendant.                         §
                                                   §


                                             ORDER

        Before the Court is the Stipulated Motion for Dismissal (the “Stipulation”) filed by

Defendant Keurig Dr. Pepper, Inc. (“Keurig”) and Plaintiff Symbology Innovations, LLC

(“Symbology”) (collectively, the “Parties”). (Dkt. No. 30). In the Stipulation, the Parties stipulate

to dismissal of Symbology’s claims against Keurig with prejudice and Keurig’s counterclaims

against Symbology without prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii).

(Id. at 1).

        Having considered the Stipulation, the Court ACCEPTS AND ACKNOWLEDGES that

Symbology’s claims against Keurig in the above-captioned case are DISMISSED WITH

PREJUDICE. The Court further ACCEPTS AND ACKNOWLEDGES that Keurig’s

counterclaims against Symbology in the above-captioned case are DISMISSED WITHOUT

PREJUDICE. Each party shall bear its own costs and fees. All pending requests for relief in the

above-captioned case not explicitly granted herein are DENIED AS MOOT. The Clerk of Court

is directed to CLOSE the above-captioned case as no parties or claims remain.
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  So ORDERED and SIGNED this 21st day of November, 2023.




                                           ____________________________________
                                           RODNEY GILSTRAP
                                           UNITED STATES DISTRICT JUDGE




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